                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

 MARVIN CLYDE OLIVE          §
     Plaintiff,              §
                             §
V.                           §                          C.A. NO. 3:20-CV-00366
                             §
YTL INTERNATIONAL, INC., and §
TRACTOR SUPPLY COMPANY       §
    Defendants               §

   AGREED MOTION FOR CONTINUANCE OF DOCKET CONTROL ORDER

       COME NOW, Marvin Clyde Olive, Plaintiff, along with Defendants, YTL

International, Inc., and Tractor Supply Company, and file this Agreed Motion for Continuance

of Docket Control Order and in support would show as follows:

       The initial Docket Control Order in this case was entered March 12, 2021. Doc. 18.

       On February 2, 2022, Plaintiff filed an Agreed Motion for Continuance of Various

Pretrial Deadlines in which the parties sought to move various deadlines including expert

deadlines, discovery deadlines, dispositive motion deadlines, and other pretrial motion

deadlines. Doc. 21. The Court granted this Motion on February 7, 2022. Doc. 22.

       After conferencing on the matter, the parties are in agreeance that further modification

and continuance of the docket control order is appropriate. Namely, counsel for Plaintiff

serves as lead liaison counsel for claimants in a mass tort case, Docket No. 3:19-cv-00207

(Kirby Inland Marine, LP v. FPG Shipholding Panama 47 S.A., et al.), which is currently

pending before this Court and District (the “Kirby Matter”). On March 4, 2022, the Kirby

Matter entered the settlement phase. Over the next several months, Plaintiff’s counsel will be

engaged in establishing a settlement program and the overseeing disbursement of settlement
                                              1
funds to thousands of claimants vis-à-vis a Special Master appointed by the Court. As a result

of this development, the parties have agreed and jointly request that the remaining deadlines

in the Docket Control Order in this matter be extended for six (6) months as follows:

              Case Event                   Current Deadline     Proposed New Deadline
Identification of Plaintiffs’ experts      Monday, March 14,     Wednesday, September
and production of experts’ reports in           2022                   14, 2022
the form required by Fed. R. Civ. P.          (Doc. 22)
26(a)(2)(B)
Identification of Defendants’              Monday, April 18,      Tuesday, October 18,
experts and production experts’                 2022                     2022
reports in the form required by Fed. R.       (Doc. 22)
Civ. P. 26(a)(2)(B)
Completion of Discovery. Written            Friday, May 27,      Monday, November 28,
discovery requests are not timely if             2022                    2022
they are filed so close to this deadline       (Doc. 22)
that the recipient would not be
required under Federal Rules of Civil
Procedure to respond to until after the
deadline.
Dispositive Motions.                        Friday, June 10,     Monday, December 12,
                                                  2022                   2022
                                               (Doc. 22)
All other pretrial Motions.                 Friday, July 01,    Monday, January 2, 2023
                                                  2022
                                               (Doc. 22)
Exchange pretrial materials                Friday, August 5,    Monday, February 6,
                                                  2022          2023
                                               (Doc. 18)
Docket Call                                Friday, August 12,   Monday, February 13,
                                           2022, at 9:30 a.m.   2023, at 9:30 a.m.
                                               (Doc. 18)




                                               2
         For the above-stated reasons, the parties respectfully request that the Court modify the

present scheduling order and enter a new order modifying the remaining deadlines as outlined

above.



                                                    Respectfully submitted,


/s/ Terry B. Joseph                                        /s/ Peter Thompson (by permission)
Terry Joseph                                               Peter Thompson
Texas Bar No. 11029500                                     Texas Bar No. 19898300
tjoseph@matthewsfirm.com                                   pthompson@bluewilliams.com
David M. Lodholz                                           Blue Williams
Texas Bar No. 24070158                                     1021 Main Street, Suite 1950
dlodholz@matthewsfirm.com                                  Houston, Texas 77002
Kirby L. Lodholz                                           Telephone (346)576-8800
Texas Bar No. 24070188                                     Facsimile (713)658-0300
klodholz@matthewsfirm.com                                  Attorneys for Defendants
William “Billy” Dills
Texas Bar No. 24067421
wdills@matthewsfirm.com
D. Ryan Cordell, Jr.
Texas Bar No. 24109754
dcordell@matthewsfirm.com
MATTHEWS, LAWSON,
MCCUTCHEON & JOSEPH PLLC
5444 Westheimer Rd. Ste. 1950
Houston, Texas 77056
Telephone: (713) 355-4200
Facsimile: (713) 355-9689
ATTORNEYS FOR PLAINTIFF




                                                3
                              CERTIFICATE OF SERVICE

       I certify that a copy of the above and foregoing has been served upon all known
counsel of record by fax, certified mail, return receipt requested, e-service, and/or hand
delivery on March 15, 2022.


                                               /s/ William Dills
                                                 William Dills




                                           4
